        ...                Case 2:19-cv-00939-GAM Document 1 Filed 03/01/19 Page 1 of 23
JS 44 (Rev 06117)                                                            IVIL COVER SHEET
The JS 44 cMl ~over'Sbeet :ind'tflc Inf                   nt          neither replace nor supplement the fi!ing and service of pleadings or other papers as req;i1red by law, ,except as
provided by lo<;..(l\illle~ pf cl\.vtt.,.J;hls form, approved y the u 1cial Conference of the Umted States in September 1974, 1s required for the use of the C.erk of Court .or the
purpose of in1tW~'.1:!(JitpfjJ\d.df]\et_sQ.eet (SEBtINSTRUCTIONS ON NEXT PAGE OF THIS FORM J

                                                                                                              DEFENDANTS                                                         939
                                                                                                            Starwood Hotels & Resorts Worldwide, LLC. et al


    (b) County of Residence of First Listed Plaintiff             Philade_lph1a~Ol,!nty,_ PA_                 County of Residence of First Listed Defendant _F~rfield Co,!:!_n!Y_, ~T __ _
                                   fE}(CEPT IN US PLAINTIFF CASES!                                                                   (IN US PLAINTIFF CASES ONLY!
                                                                                                              NOTE       IN LAND CONDEMNATl01' CASE.S. lJSf THI: LOCAT:ON Of
                                                                                                                            THI< TRACT OF LAND 1NVOl VED

    (c) Attorneys rF;rm Name Address. and Telephone Number)                                                  Attorneys t!f Know'!/
                                                                                                            Elizabetn )5:.. Chalik. Esquire, Wood Smith Henning & Berman. LLP
 Jeffrey M Rosenbaum, Esquire. Rosenbaum & Associates. P C .                                                1760 Market Street, Suite 1001, Ph1ladelph1a, PA 19103
 1818 Market Street, Suite 3200, Ph1ladelph1a, PA 19103                                                     215-709-2250

II. BASIS OF JURISDICTION (Placean x in One Box Only)                                                                                    INCIPAL PARTIESrP1acean x rnOneBoxforPlarn11f!
                                                                                                          fFor Dlverslty Case                                              and One Box for Defendanf)
:J i     U S Government                :::J J Federal Questwn                                                                                DEF                                          PTF      DEF
                                               (US Government Not a Party)                          C1t1zen of fh,s State                    ('J       Incorporated or Prm<1pal Place       :J 4    ::'J 4




                                  a
            Plamt1ff
                                                                                                                                                         of Business !n This State

::1 2    l: S Government                       1vers1ty                                             Cillze.n of Another State        ::1 2   :J    2   Inc.orporated and Pnnc,1pa: P:ace     n~
                                                                                                                                                                                             ::ilJ
              Defendant                        (Indicate Cz1<zensh1p of Parues zn !cem III)                                                               of Bus·ness In Another State

                                                                                                    C·tizcn or Sub1ect of a
                                                                                                       Fore• n Coun


                                                                                                       FORFEITUR
:J 1: 0 Insurance                        PERSO!llAL INJt:RY
('J 120 Marme                        :J J 10 Airplane
0 : JO M·ller Act                    ::J 3 I 5 Airp:ane Product
::J !40 Negotiable Instrument                  Liabi:ity
::::J : 50 Recovery of Overpa)"llent 0 l20 Assault, Libel &
           & Enforcement of Judgment           Slander
CJ J 51 Medicare Act                 :J BO Federal Employers·
::1 152 Recovery of Defaulted                  Liabihty
           Student Loans             0 340Manne
           (Excludes Veterans)       CJ 34 5 Manne Product
:J 1 5 3 Recovery of Overpayment               Liability
           ofVeteran·s Benefits      ("J 350 Motor Vebicle
::::J 160 Stockholders' Suits
:J 190 Other Contract

:J 196 Franchise



:J 2: 0 Land Condemnation             0 440 Other C1v11 Rights          Habeas Corpus.
:J 220 Foreclosure                    :J 441 Vottng                  :J 46 J Ahen Detainee
ll 230 Rent Lease & EJectment         ::J 442 Employment             ('J 510 Mollons to Vacate
::1 240 Torts to Land                 :J 44 3 Housing/                      Sentence
::J 245 Tort Product Liab1!tty               Accommodahons           :J 5 30 General
('J 290 All Other Real Property       CJ 445 Amer w/D1sabi:mes ·     ll 515 Death Pena:ty                   IMMlGRATION
                                             Employment                   Other·                    ::1 462 Natura1tzat1on Apphcation
                                      :J 446 Amer w/D1sab1h11es ·    ::1 540 Mandamus & O•her       CJ 465 Other lmmigrat•on
                                             Other                   ::'J 550 Civ1: Rights                 Achons
                                      CJ 448 Educat<on               CJ 555 Prison Cond1t1on
                                                                     ('J 560 CM: Detamee .
                                                                              Condmons of
                                                                              Confinement
V. ORIGIN (Pl
:::I!   Ongmal                                             n        Remanded from
        Proceeding                                                                            ::::J 4 Reinstated or    ::::J 5 :'ransferred from       ~   6 Multtd1stnct            :J 8 Multid1stnct
                                                                    Appellate Court                 Reopened                    Another D1stnct              L1t1gat10n -                  L1t1gat10n -
                           Cite the t; S CIVIi •                                              '. '_        's eci ~                        Transfer D!fect Fi:e
                            Title 28 Un 't d SS.attute uncder whs1ch you are filtng (Do not cite JUrisdictional statutes unless diversity)
VI.     CAL'SE OF ACTION "S~~~~e~~a;te~s~o~d~e~e~c~t:o~n..'...!.:13:2,:3~2:__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _/ " " " ' _ : : - - - - - -
                                          1

                         I ~nef descnpt1on of cause
                            Premises L1abI11t
VII. REQUESTED IN      :::J. CHECK IF THIS IS A CLASS ACTION                                           DEMANDS          -
     COMPLAINT:              l,'NDER RULE 2.3, FR Cv p                                                                                                                                     omp:amt
VIII. RELATED C ASE(S)                                                                                                                                                                      :JNo
      IFANY                (See mstructzons)




  RECPJPT #                       AMOL'NT
                                                                          APPL YING IFP
                                                                                                                            JL'DGE                          MAG JUDGF.
                                                                                                                                                                                 -------
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                          --~ ~<          M                UNITED STATES DISTRICT COlJRT
                                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                         DESIGNATION FORM
                                                                                                                                   19                  93 9 ~
                    (lo be used by counsel or prose plamttf/ to indicate the category of the case for the purpose of assignment to the appropriate calendar)

AddressofPlamtiff                                1545 Spring Garden Street, Apt. 3, Phil~d~lphia, PA 19~3~------
Address of Defendant                         One StarPoint, Stamford, Ct 06902
                                ------------------
                                                        4_3_0_1_1_s_la_n_d_A_v_e_n_u_e_,_P_h_i_la_d_e_l_p_h_ia_,_P_A_ - - - -
Place of Accident, Incident or Transaction· _ _ _ _ _ _ _                                                                                                                 - -


RELATED CASE, IF ANY:

Case Number:                                                    Judge: _ _ _ - - - - - - -                                 Date Terminated - -             -

C1v1l cases are deemed related when Yes is answered to any of the fo!low1Dg questions

      Is this case related to property 1Dcluded m an ear:1er numbered suit pendmg or withm one year                            YesO                  No~
      previously tenmnated action ID this court?

2     Does this case 1Dvolve the same issue of fact or grow out of the same transaction as a pnor suit                         YesD                  No~
      pendmg or w1th1D one year prev1ous!y termmated action m this court?

3     Does this case mvo!ve the vahd1ty or 1Dfnngement of a patent a!ready ID suit or any earlier                              YesD                  No~
      numbered case pend1Dg or within one year previously terminated action of this court?

4.
      case filed by the same 1Dd1v1dual?             r Z\
      Is this case a second or successive habeas corpus, social secunty appeal, or prose civil rights


                                                         D is
                                                                                                                               Yes   D               No   IV' I
                                                                ~_ ~
I certify that, to my knowledge, the w1th1D case                         not related to any case now pend1Dg or w1thm one year previously termmated action ID
this court except as noted above

DATE        03~0~/2019                                       -~~---C
                                                                   ---:_-_ -_- __ _                                                              88_1_57 - - - - - ·
                                                                        Attorney-at-Law I Pro Se Pfam tiff                                Attorney 1 D #(if applrcable)


CIVIL: (Pl1ce a    vin one category only)
A.           FetieNI Q11estion Cases:                                                      B.    Diversity Jurisdiction Cases:

01           Indemmty Contract, Manne Contract, and Al: Other Contracts                                Insurance Contract and Other Contracts
0 2          FELA                                                                                      A1rp!ane Personal Injury
03           Jones Act-Personal Injury                                                                 Assault, Defamation
0 4.         Antitrust                                                                                 Manne Persona: Injury

B0
   ~
      7
             Patent
             Labor-Management Re!atlons
             Civil Rights
                                                                                                       Motor Vehicle Persona: ln1ury
                                                                                                       Other Personal Injury (Please specify)
                                                                                                       Products L1ab1hty
0     8      Habeas Corpus                                                                             Products Liab1hty - Asbestos

80 ~o  II
             Secunt1es Act(s) Cases
             Socia! Security Review Cases
             All other Federa: Question Cases
                                                                                                       All other D1vers1ty Cases
                                                                                                       (Please specify) - - - - - -

             (Please specify)



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from el1gib1/ity for arbitration)


I , - - - - - - - - - - - - - - - - - · counsel of record or pro se plaintiff, do hereby certify

     D       Pursuant to Local CIVIi Rule 53 2, § 3(c) (2), that to the best of my know:edge and behef, the damages recoverah:e ID this c1v1l action case
             exceed the sum of$ I 50,000 00 exclusive of mterest and costs


     D       Rehef other than monetary damages 1s sought


DATE · - - - -          ---- -----                                                                                            _ __t1AR __:J _2019
                                                                         Attorney-at-Law I Pro Se Plaintiff                               Attorney ID # (1f applicable)

NOTE A tnal de novo will be a tr1a: by JUfY only 1f there has been comp:1ance with FR C P 38

C;v 609 (5t2018J
..:
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                                  ~N THE UNITED STATES DISTRICT COURT
                                FOR THE EASTER1'i DISTRICT OF PENNSYLVANIA

                               CASE !\'lANAGEMENT TRACK DESIGNATION FOR'\.1
      Lillian Brenner
      1545 Spring Garden Street, Apt 3                                               CIVIL ACTION
      Philadelphia. PA 19130
                                  V.
      Aloft Philadelphia Airport, Starwood Hotels & Resorts
                                                                                   19            eas
      Worldwide. Inc., Starwood Hotels & Resorts, Marriot                            :'.'JO.
      International. Inc . et al
        In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
        plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
        filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
        side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
        designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
        the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
        to which that defendant believes the case should be assigned.

        SELECT ONE OF THE FOLLOWING CASE MA'.'IAGEMENT TRACKS:

        (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                                 ( )
        (b) Social Security - Cases requesting review of a decision of the Secretary of Health
            and Human Services denying plaintiff Social Security Benefits.                                      ( )

        (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.     (< x)\
        (d) Asbestos - Cases involving claims for personal mjury or property damage from                    ~)
            exposure to asbestos.                                                                               ( )

        (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
            commonly referred to as complex and that need special or intense management by
            the court. (See reverse side of this form for a detailed explanation of special
            management cases.)                                                                                  ( )

        (f) Standard Management - Cases that do not fall into any one of the other tracks.                      ( )


            March 1, 2019                                               Defendants. Starwood Hotels & Resorts
        Date                                     Attorney-at-law                Attorney for
            215-709-2250                       215-709-2251                     echailk@wshblaw com


        Telephone                                 FAX Number                    E-'.\1.ail Address


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